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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. CR24-001 KKE
Plaintiff,
ORDER CONTINUING
TEMPORARY DETENTION

Vv.
ERIC H. KAPUSY,

Defendant.

An Indictment having been returned against the above-named defendant, now
therefore
IT IS ORDERED that temporary conditions of detention be continued as

previously set.

DATED this 8th day of January, 2025.

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UNITED STATES MAGISTRATE JUDGE

ORDER CONTINUING TEMPORARY DETENTION - 1 UNITED STATES ATTORNEY
United States v. Kapusy 700 STEWART STREET, SUITE 5220
USAO No. 2024R01398 SEATTLE, WASHINGTON 98101

(206) 553-7970
